                                            2:21-cv-02149-CSB-EIL # 1-6                Page 1 of 2
                                                                                                                                   E-FILED
                                                                                              Wednesday, 23 June, 2021 07:34:13 PM
AO 440 (Rev. 06/12) Summons in a Civil Action
                                                                                                      Clerk, U.S. District Court, ILCD
                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                          CentralDistrict
                                                     __________  Districtof
                                                                          of__________
                                                                             Illinois

   JOHN PARIS, as Administrator for the Estate of                       )
  VICTORIA L. PARIS, and in his personal capacity                       )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No.
                                                                        )
 WEXFORD HEALTH SOURCES, INC., DR. RONALD SCHAEFER, DR.
RALPH GAUEN, DR. MICHAEL BREWER, DR. GEORGE DUNCAN, DR.                 )
    VIDYA MORISETTY, NURSE EDITHA STOKES, NURSE JOANN                   )
BENWAY, NURSE SHANNON FUCHS, NURSE BRENDA CRIST, NURSE
LISA SMITH, NURSE HEATHER SPENGLER, NURSE RHONDA BEARD,                 )
  and, PHYSICIAN ASSISTANT JANE DOE, in their individual capacities
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NURSE BRENDA CRIST
                                           806 S JEFFERSON ST
                                           CERRO GORDO, IL 61818-4096




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael A. Doornweerd
                                           Laura E.B. Hulce
                                           Ali I. Alsarraf
                                           Lina R. Powell
                                           Michael B. Kang
                                           Henry A. Leaman
                                           Jenner & Block LLP, 353 N. Clark Street, Chicago, IL 60654-3456

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:             06/23/2021
                                                                                              Signature of Clerk or Deputy Clerk
                                           2:21-cv-02149-CSB-EIL # 1-6               Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
